      Case 6:18-cv-00056-ADA             Document 52-1         Filed 04/29/19   Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

JUAN JAVIER ORNELAS,                §
     Plaintiff,                     §
                                    §
v.                                  §     CIVIL ACTION NO. W-18-CA-056-ADA
                                    §
ALEXANDER HAMILTON,                 §
      Defendant.                    §
______________________________________________________________________________

                                   ORDER
______________________________________________________________________________

        This day the Court considered Defendant’s motion for summary judgment. After

considering the pleadings and evidence filed, the Court is of the opinion that the following order

should issue:

        It is hereby ORDERED that the motion for summary judgment is in all things GRANTED.

Any and all relief sought by Plaintiff against Defendant in the above-numbered and styled cause

of action is hereby denied and judgment is rendered in favor of Defendant.

        It is further ORDERED that the above-styled and numbered cause of action is hereby

DISMISSED WITH PREJUDICE. This is a final judgment and disposes of all issues and parties

in this case. All relief not specifically granted herein is denied.


        SIGNED this _____ day of _______________________, 2019.




                                                _______________________________
                                                PRESIDING JUDGE
